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                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE SOUTHERN DISTRICT OF TEXAS
                                   HOUSTON DIVISION

    In re:                                                  §       Chapter 11
                                                            §
    NPC INTERNATIONAL, INC.,                                §       Case No. 20-33353 (DRJ)
    et al.                                                  §
                                                            §
                    Debtors.1                               §

                       MOTION OF JACOB ROE FOR RELIEF FROM
                    AUTOMATIC STAY PURSUANT TO 11 U.S.C. § 362(d)(1)

    THIS IS A MOTION FOR RELIEF FROM THE AUTOMATIC STAY. IF IT IS
    GRANTED, THE MOVANT MAY ACT OUTSIDE OF THE BANKRUPTCY PROCESS.
    IF YOU DO NOT WANT THE STAY LIFTED, IMMEDIATELY CONTACT THE
    MOVING PARTY TO SETTLE. IF YOU CANNOT SETTLE, YOU MUST FILE A
    RESPONSE AND SEND A COPY TO THE MOVING PARTY AT LEAST 7 DAYS
    BEFORE THE HEARING. IF YOU CANNOT SETTLE, YOU MUST ATTEND THE
    HEARING. EVIDENCE MAY BE OFFERED AT THE HEARING AND THE COURT
    MAY RULE.

    REPRESENTED PARTIES SHOULD ACT THROUGH THEIR ATTORNEY.

    THERE WILL BE A HEARING ON THIS MATTER ON SEPTEMBER 16, 2020 AT
    2:00 P.M. (PREVAILING CENTRAL TIME) IN COURTROOM 400, 515 RUSK, 4TH
    FLOOR, HOUSTON, TEXAS 77002.


             COMES NOW, through undersigned counsel, Jacob Roe (“Mr. Roe”), and hereby moves

(this “Motion”) this Honorable Court to grant relief from Debtors’ automatic stay pursuant to 11

U.S.C. § 362(d)(1), Bankruptcy Rule 4001, and Rule 4001-1 of the Bankruptcy Local Rules for

the Southern District of Texas to allow Mr. Roe to proceed to litigate his claim in the state court

action Jacob Roe v. Jessica Ward and NPC International, Inc., currently pending in the Circuit




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  The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number, are NPC International, Inc. (7298); NPC Restaurant Holdings I LLC (0595); NPC Restaurant Holdings II
LLC (0595); NPC Holdings, Inc. (6451); NPC International Holdings, LLC; (8234); NPC Restaurant Holdings, LLC
(9045); NPC Operating Company B, Inc. (6498); and NPC Quality Burgers, Inc. (6457). The Debtors’ corporate
headquarters and service address is 4200 W. 115th Street, Suite 200, Leawood, KS 66211.
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Court for the Fourth Judicial Circuit, In and for Duval County, Florida, No. 2019-CA-4734 (the

“State Court Action”). In support of his Motion, Mr. Roe states as follows:

                   JURISDICTION, VENUE, AND RELIEF REQUESTED

       1.      This Court has jurisdiction over this proceeding pursuant to 28 U.S.C. §§ 1334(b)

and 157(b)(2)(G). The bases for the relief requested herein are 11 U.S.C. § 362(d)(1), Bankruptcy

Rule 4001, and Rule 4001-1 of the Bankruptcy Local Rules for the Southern District of Texas.

       2.      This Motion requests an order lifting the automatic stay and authorizing Mr. Roe

to prosecute his claim to judgment in the State Court Action.

                      FACTUAL AND PROCEDURAL BACKGROUND

       3.      On or about June 10, 2018, Mr. Roe was struck by a motor vehicle driven by Jessica

Ward (“Ms. Ward”), an employee of a Pizza Hut franchise operated by NPC International, Inc.

(“NPC”), one of the Debtors in these Bankruptcy Cases. The accident occurred in Duval County,

Florida.

       4.      Ms. Ward was driving the motor vehicle in the course of her employment for NPC

at the time of the accident.

       5.      In his Complaint in the State Court Action, filed on July 1, 2019, attached hereto

as Exhibit A, Mr. Roe asserted that the accident was the result of the negligent actions of Ms.

Ward, who, in the course of her employment, struck Mr. Roe causing him significant injuries.

       6.      Mr. Roe retained the services of a law firm in Duval County, Florida to pursue a

state law automobile negligence claim against Ms. Ward and NPC, naming both as defendants (the

“Defendants”).

       7.      NPC has retained counsel in the State Court Action.



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        8.       The trial in the State Court Action was set to begin on October 5, 2020. A true and

correct copy of the Trial Order is attached hereto as Exhibit B.

        9.       The Debtors are named insureds under the Republic – Vanguard Insurance Policy

(the “Policy”), a true and correct copy of which is attached hereto as Exhibit C. The Policy

contains the Self-Insured Retention and Corridor Self-Insured Retention Endorsement, which

provides that the Debtors are self-insured in the amount of $1 million per accident.2

                             THE DEBTORS’ BANKRUPTCY FILINGS

        10.      On July 1, 2020 (the “Petition Date”), NPC and its affiliates (collectively, the

“Debtors”) each filed voluntary petitions for relief under chapter 11 of title 11 of the United States

Code (the “Bankruptcy Code”) in the United States Bankruptcy Court for the Southern District of

Texas, Houston Division. The Bankruptcy Cases are jointly administered under Case No: 20-

33353 (DRJ).

        11.      On July 6, 2020, a Notice of Bankruptcy and Imposition of Automatic Stay

Pursuant to § 362(a) of the Bankruptcy Code was filed in the State Court Action. A true and correct

copy of the Notice is attached hereto as Exhibit D. The filing of these Bankruptcy Cases operates

as a stay of “the commencement or continuation, . . . of a judicial, administrative, or other action

proceeding against the debtor.” 11 U.S.C. § 362(a)(1).

        12.      Mr. Roe, as a party in interest, hereby requests relief from the automatic stay under

11 U.S.C. § 362(d)(1) so that he may continue to litigate automobile negligence claim against the

Debtors in the State Court Action.



2
  According to Ms. Ward’s response to Mr. Roe’s 14th Request for Production of Documents, the Policy provides for
an additional $1 million under the Corridor Self-Insured Retention in excess of the Self-Insured Retention, and that
the Policy applies as primary coverage and the James River policy applies to provide excess coverage once the $2
million in coverage is exhausted.
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         13.      The Debtors’ self-insurance obligations for damages related to the claims in the

State Court Action are capped at $1 million. The Debtors have insurance coverage for damages in

excess of that $1 million for the claims raised in the State Court Action.3

         14.      Mr. Roe asserts damages for the claims in the State Court Action that are well in

excess of $1 million.

                                                 ARGUMENT

         15.      Under the Bankruptcy Code, the automatic stay applies only to actions against the

debtor. 11 U.S.C. § 362(a)(1-8). “By its terms the automatic stay applies only to the debtor, not to

co-debtors under Chapter 7 or Chapter 11 of the Bankruptcy Code nor to” co-defendants. Reliant

Energy Servs., Inc. v. Enron Canada Corp., 349 F.3d 816, 825 (5th Cir. 2003) (quoting GATX

Aircraft Corp. v. M/V Courtney Leigh, 768 F.2d 711, 716 (5th Cir. 1985)). Thus, Section 362 of

the Bankruptcy Code is “rarely . . . a valid basis on which to stay actions against non-debtors.”

Arnold v. Garlock, Inc. 278 F.3d 426, 436 (5th Cir. 2001).

         16.      Even where the stay applies, bankruptcy courts have the authority to lift the

automatic stay for “cause,” as determined on a case-by-case basis. 11 U.S.C. § 362(d)(1). See also

In re Tonthat, No. 07-30315-H3-13, 2009 WL 2461041, at *2 (Bankr. S.D. Tex. Aug. 7, 2009); In

re Wells, No. 08-80206-G3-13, 2008 WL 4179238, at *1 (Bankr. S.D. Tex. Sept. 5, 2008); In re

Adebo, No. 07-36371-H3-13, 2007 WL 3235122, at *2 (Bankr. S.D. Tex. Nov. 1, 2007); In re

Young, No. 06-80397-G3-7, 2006 WL 3088225, at *2 (Bankr. S.D. Tex. Oct. 20, 2006). “Cause”

within the context of Section 362(d)(1) is undefined, and as a result affords “flexibility to the

bankruptcy courts.” In re Mirant corp., 440 F.3d 238, 253 (5th Cir. 2006) (quoting In re Little



3
 But see note 2, supra. The Debtors may claim an additional corridor of exposure of $1 million to the extent there is
an ambiguity in the overlapping coverage.
                                                         4
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Creek Dev. Co., 779 F.2d 1068, 1072 (5th cir. 1986)); In re Mosher, 578 B.R. 765, 772 (Bankr.

S.D. Tex. 2017); In re Texas State Optical, Inc., 188 B.R. 552, 556 (Bankr. E.D. Tex. 1995)

(“‘Cause’ is an intentionally broad and flexible concept that permits the [b]ankruptcy [c]ourt, as a

court of equity, to respond to inherently fact-sensitive situations.”); In re Choice ATM, No. 14-

44982-DML, 2015 WL 1014617, at *3 (Bankr. N.D. Tex. Mar. 4, 2015). “Congress itself provided

some guidance as to what constitutes ‘cause,’ specifically mentioning ‘a desire to permit an action

to proceed to completion in another tribunal’ and ‘the lack of connection with or interference with

the pending bankruptcy case.’” In re Choice ATM, 2015 WL 1014617, at *3; (quoting H.R. REP.

No. 95–595, 343.44 (1977), reprinted in 1978 U.S.C.C.A.N. 5787, 6300).

       17.     “Allowing a matter to proceed in another forum may constitute cause.” See In re

Young, No. 06-80397-G3-7, 2006 WL 3088225, at *2 (Bankr. S.D. Tex. Oct. 20, 2006) (citation

omitted); In re Xenon Anesthesia of Texas, PLLC, 510 B.R. 106, 112 (Bankr. S.D. Tex. 2014); In

re The Consol. FGH Liquidating Tr., 419 B.R. 636, 647 (Bankr. S.D. Miss. 2009) (citation

omitted). Indeed, bankruptcy courts routinely lift the automatic stay to permit a party in litigation

with the debtor pre-petition to proceed to determine liability in a non-bankruptcy forum, rather

than to litigate the same issue in the claims process in bankruptcy. See, e.g., In re Wilson, 116 F.3d

87, 91 (3d Cir. 1997) (“We perceive no great prejudice to the bankruptcy estate in granting relief

from the stay. Such relief will expedite the resolution of [the malicious prosecution claim] by

eliminating it if [the debtor] prevails on appeal, or by rendering it final and nondischargeable if

[the plaintiff] prevails. Moreover, [the malicious prosecution claim] can be resolved more quickly

in state court on appeal than in the bankruptcy proceedings, as the parties have already filed briefs

on appeal.”); In re SCO Group, Inc., 395 B.R. 852, 856-57 (Bankr. D. Del. 2007) (applying

equitable balancing test to allow litigation to proceed in a non-bankruptcy forum, noting that: “‘It

                                                  5
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will often be more appropriate to permit proceedings to continue in their place of origin, when no

great prejudice to the bankruptcy estate would result, in order to leave the parties to their chosen

forum and to relieve the bankruptcy court from any duties that may be handled elsewhere.’”

(quoting H.R. Rep. No. 95-595, 95th Cong., 1st Sess. 341 (1977), reprinted in 1978 U.S.C.C.A.N.

5963, 6297)).

           18.       In determining whether cause exists to lift the stay to allow litigation to proceed in

another jurisdiction, bankruptcy courts in this district consider the following factors:

                     1) whether the relief will result in a partial or complete resolution of
                     the issues; 2) lack of any connection with or interference with the
                     bankruptcy case; 3) whether the other proceeding involves [d]ebtor
                     as a fiduciary; 4) whether a specialized tribunal has been established
                     to hear the particular cause of action; 5) whether the debtor's insurer
                     has assumed full responsibility; 6) whether the action primarily
                     involves third parties; 7) whether litigation in the other forum would
                     prejudice the interests of other creditors; 8) whether the judgment
                     claim arising from the other action is subject to equitable
                     subordination; 9) whether movant's success would result in a
                     judicial lien avoidable by the debtor; 10) interests of judicial
                     economy and the expeditious and economical resolution of
                     litigation; 11) whether the proceedings have progressed to the point
                     that parties are ready for trial; and 12) impact of the stay on the
                     parties and the balance of harm.

See In re Mosher, 578 B.R. at 772 (citing In re Xenon Anesthesia of Texas, PLLC, 510 B.R. at

112).4 See also In re Kao, No. 15-31193-H3-13, 2015 WL 9412744, at *2 (Bankr. S.D. Tex. Dec.

21, 2015) (listing the following factors as the relevant ones: (i) great prejudice to the debtor or the

bankruptcy estate; (ii) balance of hardships; and (iii) the creditor’s probability of prevailing on the

merits); In re Samshi Homes, LLC, No. 10-37643-H3-11, 2011 WL 3903054, at *3-4 (Bankr. S.D.

Tex. Sept. 6, 2011) (listing the same three factors); In re MCC Humble Auto Paint, Inc., No. 11-

34994-H3-11, 2011 WL 3799764, at *3-4 (Bankr. S.D. Tex. Aug. 25, 2011) (same).


4
    Not all 12 factors are relevant here. Thus, only those factors that are relevant will be discussed.
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        19.    The “decision to lift the stay may be upheld on judicial economy grounds alone.”

In re Xenon Anesthesia of Texas, 510 B.R. at 112 (citing In re United States Brass Corp., 176 B.R.

11, 13 (Bankr. E.D. Tex. 1994)). See also In re Young, 2006 WL 3088225, at *2-3; In re Kao,

2015 WL 9412744, at *2. Further, whether relief from the stay would permit the resolution of

uniquely state law questions which necessarily must be decided as part of the case’s administration,

cause will exist to lift the automatic stay for that purpose. In re Adebo, 2007 WL 3235122, at *2.

   A.          Mr. Roe is Seeking to Liquidate His Claim to Recover Under the Debtors’
               Insurance Policy

        20.    Bankruptcy courts regularly grant lift stay relief to allow victims to pursue personal

injury lawsuits when the intent is to liquidate the personal injury claim and seek collection of

damages from the debtor’s insurance carrier. As one court observed:

               This Court, like all bankruptcy courts, routinely lifts the stay to
               allow tort suits to go forward in state court to determine the liability,
               if any, of the Debtor. Frequently, these actions are coupled with a
               pledge by the creditor that he only seeks to go forward to determine
               the liability and that such liability will be paid by the liability
               insurance carrier and there is no expense to the estate.

In re Fowler, 259 B.R. 856, 858 (Bankr. E.D. Tex. 2001). In In re Fernstrom, the Seventh Circuit

Court of Appeals affirmed a bankruptcy court’s decision to lift the automatic stay to permit an

action to proceed in another forum, reasoning that the “debtors-defendants” suffer little prejudice

when they are sued by plaintiffs who seek nothing more than declarations of liability that can serve

as a predicate for a recovery against insurers, sureties, or guarantors.” 938 F.2d 731, 736 (7th Cir.

1991). When a creditor seeks a recovery against the debtor’s insurer, the bankruptcy estate is not

jeopardized. See In re Edgeworth, 993 F.2d 51, 55-56 (5th Cir. 1993) (“The overriding question

when determining whether insurance proceeds are property of the estate is whether the debtor

would have a right to receive and keep those proceeds when the insurer paid on a claim. When a

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payment by the insurer cannot inure to the debtor's pecuniary benefit, then that payment should

neither enhance nor decrease the bankruptcy estate. In other words, when the debtor has no legally

cognizable claim to the insurance proceeds, those proceeds are not property of the estate. . . .

[U]nder the typical liability policy, the debtor will not have a cognizable interest in the proceeds

of the policy. Those proceeds will normally be payable only for the benefit of those harmed by the

debtor under the terms of the insurance contract”); In re Holtkamp, 669, F.2d 508 (7th Cir. 1982)

(“Allowing the civil action to go forward did not jeopardize [the debtor’s] bankrupt estate because

his insurance company assumed full financial responsibility for defending that litigation.”).

        21.    Similarly here, while Mr. Roe has sued the Defendants in the State Court Action,

his intent with respect to this Motion is to liquidate his claim and seek to recover damages from

the Debtors’ insurance carrier. Thus, the Debtors are not prejudiced if the stay is lifted.

        22.    As of the date of this filing, Mr. Roe has not filed a claim against the Debtors in the

Bankruptcy Cases. While he does not waive his right to do so by the claims bar date (which has

yet to be set) and intends to file a claim for the Debtors’ self-insurance obligations, his primary

goal is to expeditiously liquidate his claim in the State Court Action and seek payment on that

claim from the Debtors’ insurer(s). It would prejudicial for the Court to deny this relief as doing

so would effectively extend the automatic stay to the Debtors’ insurance company. See In re

Robertson, 244 B.R. 880, 883 (Bankr. N.D. Ga. 2000).

   B.          Other Reasons Constitute Cause to Lift the Stay Under 11 U.S.C. 362(d)(1)

                    i.         Judicial Economy Favors Lifting the Stay

        23.    Lifting the stay and allowing the State Court Action to proceed is in the best interest

of judicial economy and will result in an expeditious and economical resolution for the parties



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involved. Lifting the automatic stay so as to permit the State Court Action to proceed to trial will

result in a complete resolution of the issues.

          24.   The parties have been litigating the State Court Action for over a year. See

Complaint, Ex. A. The Parties have conducted extensive discovery and Mr. Roe has undergone a

medical examination. The bulk of the search for and collection of responsive documents had

already been carried out before the Debtors even commenced these Bankruptcy Cases.

          25.   Moreover, the parties were just a couple of months away from a three-day jury trial

when the Debtors commenced these Bankruptcy Cases. See Trial Order, Ex. B. The Trial Order

was entered in January 2020. As a result, the Parties have already incurred significant time (indeed,

over six months) and resources to prepare the State Court Action for trial. Similarly, the Florida

circuit court has become intimately familiar with the facts and issues involved in the State Court

Action.

          26.   The longer the State Court Action is delayed as a result of the automatic stay, the

more costly and burdensome it will be for the parties to ready themselves again for trial. See In re

SCO Group, Inc., 395 B.R. at 858. In SCO Group, “cause” existed to lift the automatic stay to

allow litigation between debtors and creditor which had been pending for four years in

nonbankruptcy forum, and which was ready for trial immediately prior to commencement of

debtors’ chapter 11 cases, to proceed in non-bankruptcy forum, where debtors, having already

prepared litigation for trial, would suffer little prejudice if required to litigate claims in another

forum, where creditor would suffer significant prejudice if stay were not lifted, and if it were

required to start over in bankruptcy court, and where creditor demonstrated a reasonable

probability of success on merits. Id.



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         27.    The Florida circuit court has extensive knowledge of the facts and issues involved

in the State Court Action and is best suited to bring the matter to a complete, expeditious and

economical resolution. See generally In re American Spectrum Realty, Inc., 540 B.R. 730 (Bankr.

C.D. Cal. 2015) (“Cause” existed to lift automatic stay to allow state court litigation that had been

pending against a chapter 11 debtor for more than two years to proceed before state court that was

very familiar with issues and parties, where litigation involved only state law claims which, while

not novel, were most appropriately addressed by the state court, where there was no evidence that

allowing the litigation to proceed in state court would interfere with bankruptcy proceedings, and

where the state court litigation had progressed to point that the parties were ready for trial). Judicial

economy weighs heavily in favor of lifting the automatic stay for the limited purpose of allowing

the parties to bring the State Court Action to an economical and expeditious resolution.

    C.          Lifting the Stay Will Permit Resolution of Uniquely State Law Questions

         28.    The State Court Action involves for the most part issues of state law.5 In particular,

the issues to be determined concern, inter alia, negligence, proximate cause, whether Mr. Roe’s

injuries satisfy the threshold of the Florida Automobile Reparations Reform Act, joint and several

liability pursuant to Florida Statutes 768, and the calculation, mitigation, and apportionment of

damages. To be clear, the State Court Action does not involve bankruptcy law or the law of any

other state. The issues presented in the State Court Action are best resolved by the Florida circuit

court, particularly because the cause of action is not purely a common law one, but one that also

involves the interpretation of Florida Statutes.



5
  While the State Court Action is an ordinary automobile negligence case, Ms. Ward and NPC raised two federal
affirmative defenses, including The Graves Amendment and the federal preemption doctrine. Notwithstanding, the
Florida circuit court can determine the validity of these affirmative defenses.

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        29.    While Congress intended the automatic stay to have broad application, the

legislative history to Section 362 of the Bankruptcy Code clearly indicates Congress’s recognition

that the stay should be lifted in circumstances such as these. The Senate Report accompanying the

Bankruptcy Reform Act states:

               It will often be more appropriate to permit proceedings to continue
               in their place of origin, when no great prejudice to the bankruptcy
               estate would result, in order to leave the parties to their chosen forum
               and to relieve the bankruptcy court from many duties that may be
               handled elsewhere.

See S. Rep. No. 989, 95th Cong., 2d Sess. 50 (1978), reprinted in 1978 U.S.C.C.A.N. 5787, 5836.

Allowing the parties to proceed in their chosen state-law forum will relieve this Court from

resolving issues that do not implicate bankruptcy law and create the least amount of interference

in the Bankruptcy Cases.

        30.    Cause exists to lift the automatic stay because the requested relief would permit the

resolution of an ordinary automatable negligence case by the Florida circuit court.

   D.          Lifting the Stay Will Not Result in Great Prejudice to the Debtors

        31.    Lifting the stay to allow the State Court Action to proceed would not result in any

prejudice – much less great prejudice – to the Debtors or their estates. See In re Curtis, 40 B.R.

795, 806 (Bankr. D. Utah 1984) (looking at the “balance of hurt”). If the Court grants the relief

requested, the parties will simply proceed with trial in the Florida circuit court in which NPC

already has counsel and insurance coverage. If Mr. Roe prevails in the State Court Action, he will

proceed with collection efforts against the Debtors’ insurance carrier for amounts in excess of his

anticipated claim in the Bankruptcy Cases.




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         32.    Furthermore, Mr. Roe's anticipated claim in the Bankruptcy Cases would be

handled through the claims process. This will prejudice neither the Debtors nor the interests of any

other creditors in these Bankruptcy Cases.

         33.    Mr. Roe’s claim must be determined – the issue is merely whether making that

determination in this Court or in the year-old State Court Action better serves judicial economy

and fairness to the parties.

    E.          The Hardship to Mr. Roe by Continuing the Stay Considerably Outweighs
                Any Burden on the Debtors

         34.    The balance of harms clearly weighs in favor of Mr. Roe. The parties have already

expended significant amounts of time, resources, and effort to litigate the State Court Action. The

parties have completed all discovery in the State Court Action and have been preparing for trial

for the last six months. Allowing the State Court Action to proceed in Florida will not lead to

substantial discovery or delay the previously-scheduled jury trial. Nor will it distract the Debtors

from these Bankruptcy Cases. If this Court allows the stay to continue, Mr. Roe will suffer the

added expense of litigating these issues a second time in a forum that has never been presented

with the facts and issues involved in the State Court Action.

         35.    NPC also has separate litigation counsel who was in the midst of extensive trial

preparation when the Debtors commenced these Bankruptcy Cases. Thus, preparation for trial in

the State Court Action will not unduly burden the Debtors. The longer the State Court Action is

delayed, the more burdensome it will be for the Parties to ready themselves again for trial.

Continuing the automatic stay will result in wasted time, effort, legal fees, and judicial resources—

all of which can be avoided if the stay is lifted.




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   F.          Mr. Roe Has a Likelihood of Success on the Merits in the State Court Action

        36.    Even a slight possibility of success on the merits may suffice to warrant lifting the

stay under the appropriate circumstances. In re SCO Group, Inc., 395 B.R. at 859. The facts are

clear: Ms. Ward was under the employ of NPC when she struck Mr. Roe during a delivery run.

This is a casebook example of a negligent tort. As Mr. Roe will show at trial, Ms. Ward and NPC

are liable. Mr. Roe has more than a slight likelihood of prevailing on the merits in the State Court

Action if the automatic stay is lifted.

   G.          The Stay Does Not Apply to Ms. Ward

        37.    The State Court Action involves Mr. Roe as plaintiff, and Ms. Ward and NPC as

the defendants. As Ms. Ward is not a debtor in these Bankruptcy Cases, she cannot benefit from

the automatic stay. Indeed, the co-defendant stay does not apply in chapter 11 cases. Reliant

Energy Servs., Inc., 349 F.3d at 825 (quoting GATX Aircraft Corp., 768 F.2d at 716.

                                          CONCLUSION

        For the reason discussed above, Mr. Roe respectfully requests that this Court enter an order

granting relief from the automatic stay pursuant to 11 U.S.C. § 362(d)(1) and allowing Mr. Roe to

prosecute his claim to judgment in the State Court Action.

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Dated: August 24, 2020                 Respectfully submitted,

                                        /s/ Yelena Archiyan
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                                       Counsel for Jacob Roe




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                             CERTIFICATE OF CONFERENCE

       Counsel for Mr. Roe, Jacob Brown, has complied with the meet and confer requirement in

Rule 4001-1(a)(1) of the Bankruptcy Local Rules for the Southern District of Texas. Undersigned

counsel conferred with Debtors’ counsel, Phil DiDonato, via telephone and/or email on August

12, 16, 17, and 18, 2020 regarding this request for relief from the automatic stay, but has not been

able to reach an agreement on the requested relief.


                                                              /s/ Jacob Brown
                                                              Jacob Brown


                          CERTIFICATE OF SERVICE AND
                    CERTIFICATE OF COMPLIANCE WITH BLR 4001

I hereby certify that a true and correct copy of the foregoing instrument was served upon all parties

or counsel of record who have registered to receive electronic service by operation of the Court’s

electronic filing system and by electronic service or U.S. mail to the following:

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 Jason R. Adams                                      Association
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 Attn: Brett T. Burmeister, Esq.                     Attn: Kirk Carson, Esq., AVP
 Counsel to Jessica Padgett

 Jessica Ward                                        Jessica Ward
 c/o Sami R. Achem, Esq. and                         9855 Regency Square Blvd., Apt. 16
 Victoria M. Merritt, Esq.                           Jacksonville, FL 32225
 Cole, Scott & Kissane, P.A.
 4686 Sunbeam Road
 Jacksonville, FL 32257

 The Republic Group
 Attn: General Counsel
 P.O. Box 809076
 Dallas, TX 75380-9076

in compliance with Rule 4001-1(a)(4) of the Bankruptcy Local Rules for the Southern District of
Texas on this 24th day of August, 2020.

                                                              /s/ Yelena Archiyan
                                                              Yelena Archiyan




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             PROPOSED ORDER
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                      IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

 In re:                                              §       Chapter 11
                                                     §
 NPC INTERNATIONAL, INC.,                            §       Case No. 20-33353 (DRJ)
                                                     §
                  Debtor.                            §
                                                     §

                 ORDER ON MOTION OF JACOB ROE FOR RELIEF FROM
                  AUTOMATIC STAY PURSUANT TO 11 U.S.C. § 362(d)(1)

          Considering the Motion of Jacob Roe for Relief from Automatic Stay Pursuant to 11 U.S.C.

§ 362(d)(1) (the “Motion”) [ECF No. ●];

          After considering the Motion, the arguments of counsel, and the applicable law:

          It is ORDERED, ADJUDGED, AND DECREED that:

          1.     The automatic stay imposed by 11 U.S.C. § 362 is hereby lifted to allow Mr. Roe

to continue to prosecute his claim to judgment in the State Court Action styled as Jacob Roe v.

Jessica Ward and NPC International, Inc., pending in the Circuit Court, Fourth Judicial Circuit,

In and For Duval County, Florida, Case No. 2019-CA-004734 (the “State Court Action”).

          2.     Mr. Roe may immediately proceed to advance his claims in the State Court Action.

          3.     This Order shall apply only to NPC International Inc. and shall not apply to the

debtors of any other bankruptcy case.

SIGNED this _____ day of September, 2020.

                                                         __________________________
                                                         David Jones
                                                         United States Bankruptcy Judge
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